                 Case 1:19-mc-00593-VSB Document 48 Filed 11/11/20 Page 1 of 2

                                            590 Madison Avenue, 20th Floor, New York, NY 10022-2524 • p212 223-4000 • f212 223-4134




     Kathy H. Chin
     (212) 895-4304
     KHChin@crowell.com




                                                               November 11 , 2020



     ELECTRONICALLY FILED

     Hon. Vernon S. Broderick
     United States District Court
     Southern District of New York
     Thurgood Marshall United States Courthouse
     40 Foley Square, Room 415
     New York, New York 10007

                Re:           Ex Parle Application of Gulf Investment Corp.
                              Case No. 1:19-mc-00593 (VSB)

     Dear Judge Broderick:

     As a quick update to our letter to the Court of September 24 (ECF 4 7), we write on behalf of the
     Port Fund Entities to advise that the parties have settled the Section 22 proceedings in the
     Cayman Islands. We attach as Exhibit A the Consent Order filed November 3, 2020, signed by
     Cayman counsel for Gulflnvestment Corporation ("GIC"), Kuwait Ports Authority ("KPA''),
     and the Port Fund Entities. Under the terms of the Consent Order, information and documents
     are to be produced by the Port Fund Entities by November 17, 2020.

     We also note that since our last letter, the Port Fund Entities served on KPA's counsel formal
     demand for return of the $13 million overpayment made to KPA to secure release of the funds
     frozen at Noor Bank. The circumstances of this overpayment were laid out in the Port Fund
     Entities' Memorandum of Law (ECF 24 at pp. 4-5) and in my Declaration (ECF 26 at,, 24-25).
     A copy of the demand letter (without exhibits) is attached hereto as Exhibit B. 1 On the deadline
     set in the letter for payment, KPA declined to pay but rather started a proceeding with PIFSS


     1
       The demand letter included as exhibits the 2019 Financial Statements of the Port Fund and the Attorney General
     correspondence wherein the Kuwait authorities demanded payment to KPA and to the Public Institution for SociaJ
     Security ("PIFSS", the other limited partner wholly owned by the State of Kuwait) of$400 million of the
     $496 million frozen at Noor Banlc See Chin Declaration, ECF 26 at ,r 24. If of interest to the Court, we would be
     pleased to provide copies of the exhibits.



Crowell 8: Moring LLP   ■   www.crowell.com • Washington, DC   ■   New York ■ San Francisco • Los Angeles • Orange County ■ London • Brussels
               Case 1:19-mc-00593-VSB Document 48 Filed 11/11/20 Page 2 of 2

    Hon. Vernon S. Broderick
    November 11, 2020
    Page2

    against Port Link in the Cayman Islands.2

    If further information would be of interest to the Court, we would be pleased to provide it at a
    further conference or in writing.

    We thank the Court for its consideration of these matters.




    cc:       Kristin N. Tahler, Esq.
              Quinn Emanuel Urquhart & Sullivan, LLP
              (via ECF)




    2
       We note that this proceeding is not the winding up petition described as the primary basis for the Section 1782
    proceeding filed by KPA currently pending before the Honorable Andrew L. Carter, Jr. (Case No. 1:20-mc-00046
    (ALC)).



Crowell a Moring LLP • www.crowell.com • Washington, DC • New York ■ San Francisco ■ Los Angeles ■ Orange County • London • Brussels
